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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


 CENTER FOR BIOLOGICAL
 DIVERSITY, WESTERN                          Case No. 4:21-cv-00182-BLW
 WATERSHEDS PROJECT, and
 WILDEARTH GUARDIANS,                        MEMORANDUM DECISION AND
                                             ORDER
        Plaintiffs,

         v.

 UNITED STATES BUREAU OF
 LAND MANAGEMENT, MARY
 D'AVERSA in her official capacity as
 District Manager for the Bureau of
 Land Management Idaho Falls
 District, and UNITED STATES
 DEPARTMENT OF INTERIOR,

        Defendants,

 and

 P4 PRODUCTION, LLC,

        Intervenor-Defendant.



                                INTRODUCTION

       This case involves a challenge to the United States Bureau of Land

Management’s approval of a new open-pit phosphate mine in southeast Idaho—the



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Caldwell Canyon Mine—which is to be operated by intervenor P4 Production.

Plaintiffs allege that BLM’s decision and analysis in approving the mine is

arbitrary and capricious in violation of the National Environmental Protection Act,

the Federal Land Policy Management Act, the Clean Water Act, and the

Administrative Procedures Act. Before the Court are the parties’ cross-motions for

summary judgment. (Dkts. 58, 61, 64.) Also before the Court are Plaintiffs’ motion

for leave to file a surreply and motion to strike (Dkts. 72, 73.) For the reasons set

forth below, the Court grants in part and denies in part the cross motions for

summary judgment, denies the motion to strike, and grants the motions to file a

surreply.

                                  BACKGROUND

             Southeastern Idaho is the site of a federal phosphate program operated

by the BLM and the U.S. Forest Service. The program includes 83 phosphate

leases encompassing 43,000 acres. About 17,000 acres, or 23 square miles, are

“disturbed” and there are 5 active mines and 15 inactive or closed mines. These

mines are operated by several entities, including intervenor P4 Production, a

subsidiary of Monsanto. Monsanto is, in turn, a wholly-owned subsidiary of Bayer

AG.

      Phosphate is used in many applications and products, including as an

herbicide (Roundup), fertilizer, animal feed, metal finishing, flame retardants,


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water-based paints and coatings, aviation fluids, potable water treatment, leavening

agents, carbonated beverages, and toothpaste. The mines in the southeast Idaho

phosphate program supply about 17 percent of the United States’ and 3 percent of

the world’s phosphate. The mining program also generates approximately $10

million in royalties, rents, and bonus bids, 50% of which is distributed to Idaho.

      On February 17, 2017, BLM received a proposal from P4 for a Mine and

Reclamation Plan (MRP) in southeast Idaho. The proposal is for a new open-pit

phosphate mining project—the Caldwell Canyon Mine—along Schmid Ridge,

which is located about 13 miles northeast of the town of Soda Springs, Idaho. The

open pit mining would be conducted on existing federal phosphate leases (IDI-02,

IDI-014080, and IDI-13738) and an existing State of Idaho mineral lease

(E07959). The federal leases grant P4 exclusive development rights to the

phosphate deposits under the federal and private lands.

      The Project would include two new open mine pits (the North Pit and the

South Pit) from which P4 would extract phosphate ore. (AR 4021-22.) It would

also require construction of haul and access roads, installation of a power line,

water management features, monitoring wells, shop and office facilities,

environmental protection measures, and reclamation. (See AR 4224-45, 16128-30).

The Project would result in new disturbance of approximately 1,559 acres of




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previously undeveloped land. (AR 71250.) Surface ownership of this land is

mixed—the BLM has surface ownership of 153 acres; the Forest Service has

surface ownership of 7 acres; the State of Idaho has surface ownership of 230

acres; and the remaining 1,169 acres of the surface is in private ownership. (AR

71250, 71251.)

        The Project would involve mining for about 40 years, with operations

continuing year-round, 4 to 5 days per week in 2 10-hour shifts. (AR 71253, 4021-

22.) The ore from the mine would be transported via truck and rail to the Soda

Springs Plant, which is owned by parent company Bayer AG and operated by P4.

The ore would be processed at the Soda Springs Plant to produce the herbicide

glyphosate for use in Roundup products.

        The Soda Springs Plant has been processing phosphate ore for many decades

and currently processes phosphate ore from the Blackfoot Bridge Mine. The

Blackfoot Bridge Mine was anticipated to be depleted and cease operations in

2022.

        The Soda Springs Plant is an active federal Superfund Site. It was added to

the National Priorities List due to concern that groundwater contaminated with

selenium, cadmium, sulfates, and fluoride was flowing south from the property

towards the town of Soda Springs. (AR 28495, 28427-34.) Subsequent




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investigation revealed that there is also potential exposure of community members

and employees to metals (arsenic and beryllium) and to radionuclides through

groundwater contamination. (AR 28427.) In a 2018 five-year review report of the

Soda Springs Plant Superfund Site,1 the U.S. Environmental Protection Agency

stated that the groundwater remedy for contamination at the site was not

performing as intended:

       Groundwater monitoring data reveal that after initially decreasing,
       some COC [contaminants of concern] concentrations have been
       increasing over the last several years in some of the monitoring
       locations, and at some locations appear relatively stable above the
       RGs [remedial goals]. In addition, the COC selenium has been
       detected at the southern property boundary in monitoring well TW-65
       at concentrations that exceeded its RG. Monitoring wells upgradient
       from the southern property line are interpreted to be increasing in the
       short-term . . . . These trends indicate the selenium is not attenuating
       at the previously-estimated rate.

       ....

       Attenuation rates have proved to be slower than originally predicted,
       for selenium in particular. These issues raise the uncertainty of the
       ability of the implemented remedy of MNA to achieve the goal of
       groundwater restoration within the 5- to 30-year timeframe.
       Groundwater cleanup performance standards have not been achieved
       as of 2017, and data suggest that those standards will not be achieved
       in the foreseeable future, particularly now that leaching from
       remaining COC sources has been positively identified.



       1
        This 2018 report was the fifth five-year review report for the Soda Springs Plant
Superfund Site.



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(AR 28444.)

      The COC source piles onsite at the Soda Springs Plant thus continue to

contaminate groundwater, creating a plume that extends beyond the property

boundary of the Plant. (AR 29432, 28440-41, 28444, 28446.) Not only will

groundwater standards not be achieved in the foreseeable future, but EPA also

found groundwater contamination from the Soda Springs Plant was contributing to

surface water contamination in several streams and creeks that already exceed

Idaho water quality standards. (Ibid.)

      The Caldwell Canyon Mine Project, which will process ore at the Soda

Springs Plant, was approved by BLM in a 2019 Record of Decision (ROD). After

issuing the 2019 ROD, BLM issued rights of way (ROWs) associated with the

Project, including for the East Caldwell Haul Road and for a water pipeline, fiber

optic line, and powerline along the same corridor as the East Caldwell Haul Road.

On September 19, 2019, BLM issued a Notice to Proceed, authorizing P4 to

proceed with surface disturbance and initial mining activities for the Project.

      Plaintiffs, Center for Biological Diversity, Western Watersheds Project, and

WildEarth Guardians (collectively CBD) initiated this action in April 2021. They

allege that the ROD and the final environmental impact statement (FEIS) upon

which the ROD is based, violate the National Environmental Protection Act




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(NEPA), the Federal Land Policy and Management Act (FLPMA), and the Clean

Water Act (CWA). Currently before the Court are the parties’ cross motions for

summary judgment.

                               LEGAL STANDARD

      Summary judgment is appropriate when there is no genuine issue of material

fact and the moving party is entitled to judgment as a matter of law. Karuk Tribe of

Cal. v. U.S. Forest Serv., 681 F.3d 1006, 1017 (9th Cir. 2012) (en banc). Because

this is an administrative record review case, the Court may grant summary

judgment to either party based upon a review of the administrative record. Id.

      A federal agency’s compliance with environmental laws is reviewed under

the Administrative Procedure Act (APA). 5 U.S.C. § 706; see Ctr. for Biological

Diversity v. U.S. Dep't of Interior, 581 F.3d 1063, 1070 (9th Cir. 2009); Earth

Island Inst. v. U.S. Forest Serv., 351 F.3d 1291, 1300 (9th Cir. 2003). Under the

APA, the reviewing court must set aside the agency’s decision if it is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706(2)(A). A decision is arbitrary and capricious if the agency has relied

on factors which Congress had not intended it to consider, entirely failed to

consider an important aspect of the problem, offered an explanation for its decision

that runs counter to the evidence before the agency, or is so implausible that it

could not be ascribed to a difference in view or the product of agency expertise.


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O'Keeffe's, Inc. v. U.S. Consumer Product Safety Comm'n, 92 F.3d 940, 942 (9th

Cir.1996). An agency action is also arbitrary and capricious if the agency fails to

articulate a satisfactory explanation for its action, including a rational connection

between the facts found and the choice made. Id.

       Thus, the agency must set forth clearly in the administrative record the

grounds on which it acted. See Atchison T. & S.F. Ry. v. Wichita Bd. of Trade, 412

U.S. 800, 807 (1973). A court may not accept an agency’s post hoc rationalizations

for its action. Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 50 (1983) (citation omitted). “It is well-established that an

agency’s action must be upheld, if at all, on the basis articulated by the agency

itself.” Id. (citations omitted).

       The reviewing court’s inquiry must be “thorough,” but “the standard of

review is highly deferential; the agency’s decision is entitled to a presumption of

regularity, and [the court] may not substitute [its] judgment for that of the agency.”

Id.; see Nat'l Wildlife Fed. v. Nat'l Marine Fisheries Serv., 524 F.3d 917, 927 (9th

Cir. 2008) (Although a court’s review is deferential, the court “must engage in a

careful, searching review to ensure that the agency has made a rational analysis

and decision on the record before it.”). To withstand review under the APA, “the

agency must examine the relevant data and articulate a satisfactory explanation for




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its action including a ‘rational connection between the facts found and the choice

made.’ ” Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,

463 U.S. 29, 43 (1983).

                                  NEPA CLAIMS

      A.     NEPA Statutory Framework

      “NEPA imposes procedural requirements, but not substantive outcomes, on

agency action.” Lands Council v. Powell, 395 F.3d 1019, 1026 (9th Cir. 2005)

(citing Marsh v. Or. Natural Res. Council, 490 U.S. 360, 371 (1989). Under

NEPA, federal agencies must “assess the environmental impact of proposed

actions that ‘significantly affect[ ] the quality of the human environment.’ ”

WildEarth Guardians v. Provencio, 923 F.3d 655, 668 (9th Cir. 2019) (quoting 42

U.S.C. § 4332(C)).

      NEPA “serves two fundamental objectives. First, it ensures that the agency,

in reaching its decision, will have available, and will carefully consider, detailed

information concerning significant environmental impacts.” Id. (citation and

internal quotation marks omitted). “[S]econd, it requires that the relevant

information will be made available to the larger audience that may also play a role

in both the decision-making process and the implementation of that decision.” Id.

(citation and internal quotation marks omitted). “In short, NEPA’s purpose is to

ensure that the agency will not act on incomplete information, only to regret its


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decision after it is too late to correct.” Id. (citations and internal quotation marks

omitted).

      “[T]o accomplish this, NEPA imposes procedural requirements designed to

force agencies to take a ‘hard look’ at environmental consequences.” Powell, 395

F.3d at 1027 (citation omitted). Further, courts are to “strictly interpret the

procedural requirements in NEPA to the fullest extent possible consistent with the

policies embodied in NEPA. [G]rudging, pro forma compliance will not do.”

WildEarth Guardians, 923 F.3d at 668 (citations, ellipses, and quotation marks

omitted). Finally, “agencies must ensure ‘that environmental information is

available to public officials and citizens before decisions are made and before

actions are taken. The information must be of high quality. Accurate scientific

analysis, expert agency comments, and public scrutiny are essential to

implementing NEPA.’ ” Id. (quoting 40 C.F.R. § 1500.1(b)).

      With this statutory framework in mind, the Court turns to its analysis of

CBD’s NEPA claims.

      B.     BLM failed to adequately consider the indirect effects of
             processing ore at the Soda Springs Plant.

      CBD argues that BLM failed to adequately consider the indirect effects of

processing ore at the Soda Springs Plant and provided inconsistent rationale in

response to comments that BLM was required to do so. The Court agrees.



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      “NEPA requires agencies to evaluate the direct and indirect effects of the

proposed action.” Ctr. for Biological Diversity v. Bernhardt, 982 F.3d 723, 737

(9th Cir. 2020) (citing 40 C.F.R. § 1502.16). “Indirect and direct effects are both

‘caused by the action,’ but direct effects occur ‘at the same time and place’ as the

proposed project, while indirect effects occur ‘later in time or [are] farther removed

in distance.’ ” Id. (citing 40 C.F.R. § 1508.8(a), (b)). Agencies need to consider

any indirect effects that are “reasonably foreseeable,” or that “ ‘a person of

ordinary prudence would take [ ] into account in reaching a decision.’ ” Id. (citing

40 C.F.R. § 1508.8(b); EarthReports, Inc. v. F.E.R.C., 828 F.3d 949, 955 (D.C.

Cir. 2016); 40 C.F.R. § 1502.22(b)).

      Here, it is undisputed that processing of ore at the Soda Springs Plant is a

reasonably foreseeable indirect effect of the Project and must be considered in the

FEIS. BLM takes the position that it did so. Specifically, BLM contends that the

Soda Springs Plant will continue to operate regardless of whether the Project is

approved because ore would be acquired from another source if approval of the

Project is withheld. (Dkt. 61-1 at 17-18.) Thus, BLM asserts that the Project does

not have any indirect effect on the Soda Springs Plant. In support, BLM cites to

AR 71704, 71286-87, which BLM contends demonstrate that P4 is pursuing other

options for obtaining phosphate ore from its leases. P4 similarly contends that its




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operation of the Soda Springs Plant will continue regardless of whether the

Caldwell Canyon Mining Project is approved because it will simply obtain ore

from other sources within the district. (Dkt. 64-1 at 14-15 (citing AR 24341,

35867-026, 71263, 71286-87, 71384, 71721, 74643-78).)

      The cited portions of the record do not, however, support BLM’s

determination that the Project will not have any indirect effect on the Soda Springs

Plant. This is because the record does not demonstrate that the Soda Springs Plant

will continue operations in the same manner and for the same length of time

whether or not the Project is approved. There is no information demonstrating that

the alternative sources of ore would produce the same volume of ore and over the

same amount of time as that anticipated from the Project. Moreover, there is no

analysis or discussion of whether approval of the Project would result in extending

the operation of the Soda Spring Plant for a longer time than the Plant would

operate if the Project was not approved, and if so, the impacts of such extended

operation.

      Turning to the cited portions of the record, AR 71704 is a citation to a page

in the FEIS at which BLM responds to the City of Soda Springs’ comment

regarding the impact if the Project is not approved, including estimated job losses.

This comment disagrees with BLM’s conclusion that the Soda Springs Plant would




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continue to operate even if the Project was not approved, stating:

      The BLM suggests 185 job losses from the shutdown of the Blackfoot
      Bridge mine. This assumes that there would be an alternate source of
      phosphate ore and the manufacturing plant would not be affected
      because P4 could obtain phosphate ore from some other source and its
      plant could continue to produce elemental phosphorous. No one on
      behalf of the City of Soda Springs is aware of an alternative source of
      ore and the City does not believe that such an assumption is
      reasonable.

      If there is no alternate reliable source of ore and the Caldwell Canyon
      Mine is not approved, 795 people in the Soda Springs area would
      become unemployed as well as significant indirect economic
      consequences from job losses. These losses can only be described as
      catastrophic for a city which counts 25% of its households as
      employees of the P4 facility or other direct contractors. Needless to
      say, this would have a devastating effect on the city's property tax
      revenues and would make it impossible for the city to function
      anywhere near its current level.

      With respect to the economic consequences of the No Action
      Alternative, the DEIS does not [emphasize] enough the consequences
      of mine closure on property tax values, loss of funding for county and
      school services along with the general economic decline that would
      result in the loss of nearly 800 jobs. Further, the complications of
      relocating and re-training that size of work force is beyond anything
      that Caribou County could do . . . .

(AR 71704-05.) In response to this comment, BLM stated:

      The analysis in [the relevant section of the EIS] does assume that the
      no action would mean the leases would not be mined and the loss of
      mineral royalty and jobs is disclosed. The EIS recognizes that mine
      and support employees may leave the area, which could adversely
      affect property tax revenue. The cost of job retraining is beyond the
      scope of the analysis as it is highly speculative, however, the EIS does
      recognize that employees may need to relocate.



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        It is not expected that the property taxes paid to the county by P4
        Production would be lost if P4 Production did not mine Caldwell
        Canyon. It is assumed in the EIS that P4 Production’s Soda Springs
        plant would continue to operate albeit using a different ore source if
        Caldwell Canyon was not approved. Utilizing phosphate ore from
        different mines to feed a plant is not an uncommon occurrence in the
        southeastern Idaho phosphate district.

(Id.)

        BLM’s response to the City of Soda Springs’ comment merely reiterates the

position BLM is taking here on summary judgment—that if the Project is not

approved, the Soda Springs Plant will continue to operate using an alternative

source of ore. That response does not address whether the Soda Springs Plant will

continue to operate in the same manner and for the same length of time regardless

of whether the Project is approved.

        AR 24341, 71721, and 71286-87 are citations to tables in the April 2019

Final Biological Assessment for Federally Listed Endangered, Threatened,

Proposed and Candidate Species for the Proposed Caldwell Canyon Activity (AR

24341) and the FEIS for the Project (AR 71721, 71286-87). The tables are in

relevant part the same in both documents. They provide a list of past projects in the

area of the Project and reasonably foreseeable future projects. The only active or

reasonably foreseeable projects involving Monsanto/P4 in those tables—outside of

the Caldwell Canyon Project—is the Trail Creek Exploration and the Ballard



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Lease.

       The Trail Creek Exploration is designated in the tables as “In Progress” and

the tables indicate that this future project involves “Exploration drilling to gather

information about phosphate reserves on portions of [the] federal phosphate leases

and three off lease areas” that will resume in 2019.2 As to the Ballard Lease, the

tables indicate that implementation of the Ballard Lease project was expected in

2019, and that the Ballard Lease project will involve phosphate mining on the

previously disturbed Ballard Mine to recover ore and facilitate reclamation. No

additional disturbed areas will be involved. There is nothing in the tables

addressing how much ore is anticipated to be recovered during the Ballard Lease

recovery and reclamation project or how long it will last. In sum, there is nothing

in the tables indicating that the projects in Trail Creek and/or Ballard Mine would

provide the same or a similar volume of ore as is expected from the Caldwell

Canyon Project. Nor is there anything in the tables indicating that the Trail Creek

and/or Ballard Mine projects would otherwise keep the Plant operating for an

additional 40 years, as is anticipated if the Caldwell Canyon Project is approved.




       2
         The Court attempted to follow the link provided in the table to find more details
regarding the Trail Creek Exploration, but the link led to a page on the BLM website stating:
“The URL was not found on this server.”



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      Additionally, AR 35867-026 is a citation to a 161-page document—the June

2013 Caldwell Canyon Prospecting and Exploration and Trail Creek Exploration

Drilling Programs Environmental Assessment. Providing this general citation to a

161-page document, without providing specific citations to the portions upon

which the party relies, is insufficient. “Judges are not like pigs, hunting for truffles

buried in the [administrative] record.” Albrechtsen v. Bd. of Regents of Univ. of

Wisconsin Sys., 309 F.3d 433, 436 (7th Cir. 2002) (citing United States v. Dunkel,

927 F.2d 955, 956 (7th Cir. 1991)). Nonetheless, the Court conducted a high-level

review and acknowledges that the document demonstrates that P4 intended to

conduct exploration drilling on the leases held by P4/Monsanto in the Trail Creek

area. This information does not, however, demonstrate that the Trail Creek project

would provide the same quantity of ore for processing at the Soda Springs Plant,

and for the same period of time, as the Caldwell Canyon Project. Nor does this

information address whether approval of the Caldwell Canyon Project would

extend operations of the Soda Springs Plant for a longer period of time than it

would operate if the Project was not approved.

      Finally, AR 74643-78 is a citation to a 36-page letter dated July 3, 2013,

from P4 production to BLM making a formal request to conduct proposed

exploration activities on federal leases located in Caldwell Canyon and the Trail




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Creek area. Again, P4 provides no citation to any specific page in this document.

There is no citation to information regarding the phosphate ore potential in the

Trail Creek area or that otherwise demonstrates that Trail Creek could replace and

act as an equivalent substitute source of ore for the Soda Springs Plant if the

Caldwell Canyon Project does not proceed.3

       In sum, the citations to the record provided by BLM and P4 do not support

BLM’s assumption that the Soda Springs Plant would continue to operate at the

same level and for the same length of time regardless of whether the Caldwell

Canyon Project is approved. BLM has failed to address whether the potential

alternative sources of ore for the Plant would be developed whether or not the

Caldwell Canyon Project is not approved. BLM has also failed to address whether

those potential alternatives would provide the same amount of ore for the same

length of time as the Caldwell Canyon Project. BLM’s assumption that there was

an equivalent alternative source of ore should the Caldwell Canyon Project not

proceed was therefore arbitrary and capricious and not in compliance with NEPA




       3
          P4’s argument that it was not required to have concrete plans or approved permits for
alternative ore sources at the time of the Caldwell Canyon FEIS misses the point. At issue here is
not whether P4 did or did not have concrete plans or approved permits. Rather, at issue is BLM’s
assumption that there is a perfect substitute for the Caldwell Canyon Project and failure to
provide citations to information in the record that supports that assumption.



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or the APA. See Ctr. for Biological Diversity v. U.S. Dep't of Interior, 623 F.3d

633, 647, 650 (9th Cir. 2010) (BLM’s assumption that the mining would occur in

the same manner and to the same extent regardless of whether the project

proceeded was unreasonable where “[t]here is nothing in the record supporting”

that assumption); WildEarth Guardians v. United States Bureau of Land Mgmt.,

870 F.3d 1222, 1235 (10th Cir. 2017) (BLM’s assumption that there was a perfect

substitute for coal should it decline to approve a project was arbitrary and

capricious where assumption was not supported by citations to information (other

than the BLM’s own unsupported statements) in the administrative record).

Finally, BLM’ failure to address whether approval of the Project would result in

extending the operations at the Soda Springs Plant for longer—potentially for 40

years longer—than it would operate under the no action alternative, and the

impacts of that extended operation, was also arbitrary and capricious and not in

accordance with NEPA and the APA. See S. Fork Band Council Of W. Shoshone

Of Nevada v. U.S. Dep't of Interior, 588 F.3d 718 (9th Cir. 2009) (BLM’s failure to

consider impacts from transport and processing of ore from proposed gold mine

over a 10-year period violated NEPA where mine expansion would create 10 years

of environmental impacts that would not have been present in no-action scenario).




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       C.     BLM failed to take a hard look at the impacts on greater sage-
              grouse

       The Greater Sage-Grouse analysis area consists of 100,000 acres around the

proposed Project and represents the seasonal habitat needs of the local sage-grouse

population—the East Idaho Uplands4 Greater Sage-Grouse Population—a

population that is already classified as being at “high risk.” (AR 65171-72, 71353.)

CBD argues that BLM violated NEPA by failing to take a hard look at the

Project’s (1) direct and indirect impacts on this sage-grouse habitat, (2) the local

sage-grouse population, and (3) the cumulative impacts on the sage-grouse.

              1. Direct and indirect impacts on sage-grouse habitat and
                 populations

       CBD argues that BLM failed to take a hard look at the impacts on sage-

grouse habitat and populations by overlooking three key impacts of the Project:

(a) functional habitat loss, (b) risk of extirpation, and (c) connectivity between

sage-grouse populations.

                     a. Functional Habitat Loss

       As to functional habitat loss, CBD argues that BLM’s analysis reflects only

the areas that would be impacted by direct disturbance, i.e., by the mine footprint,



       4
         There are references in the administrative record to both the East Idaho Uplands
population and the East Central Idaho population. These populations appear to be one and the
same.



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and ignores the indirect habitat loss that will occur beyond the mine footprint such

as through powerline, road, and railroad avoidance, and habitat fragmentation.

CBD contends that this omission is significant because functional habitat loss can

be orders of magnitude larger than a project’s physical footprint.

      BLM does not deny that functional habitat loss is an important consideration

but instead contends that the FEIS discussed the topic of functional habitat loss

“thoroughly.” However, the citations to the record provided by BLM and P4 are

insufficient to demonstrate such a thorough analysis. Indeed, as CBD points out,

only a few of the provided citations discuss behavioral avoidance or the impact of

habitat fragmentation.

      The FEIS determined that the sage-grouse analysis area contains one

occupied lek (3C028); three undetermined leks (3C014, 3C035, and 3C038); and

one pending lek (3C040). (AR 71353-54.) The FEIS concludes that the occupied

lek (3C028) is unlikely be directly impacted by mining activities due to the

distance from those activities. (AR 71362.) As to the undetermined leks (3C014,

3C035, and 3C038), the FEIS found the use of those leks to be unknown. The FEIS

further found that there would be negligible impacts on birds attending those leks

due to the distance away from mining activities but that undetermined lek 3C038

“may experience some level of visual and audible disturbance from use of the




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railroad.” (Id.)

       As to the pending lek (3C040), the FEIS noted that the lek is located on

private property, is only 1.0 miles from the mine and 0.38 miles from the railroad,

and would be subjected to increased noise levels. (AR 71362; see AR 71325.) The

FEIS concluded that the “noise from mining operations could reduce lek

attendance or dissuade future use” of the lek, and could cause the lek to be

abandoned. (AR 71362, 71325; see AR 71329 (finding that the Project will result

in noise impacts at lek 3C040, including from construction, reclamation, and

operations, and “could negatively affect the success of the lek or cause it to be

abandoned.”).)

       Thus, the FEIS does discuss leks, and potential impact of the Project on the

leks. However, the FEIS does not discuss or analyze the impacts of the Project of

functional habitat in areas outside of the leks.5 It also appears that when BLM was

describing the amount of sage-grouse habitat that would be lost or modified, BLM

accounted only for the footprint of the Project area and did not take into account

the impacts outside of the Project’s footprints, such as in the buffer zones. (See,




       5
         BLM does cite to a generic discussion in the FEIS regarding the impacts of the Project
on wildlife and birds in general (see AR 71275). However, this generic discussion is insufficient
to demonstrate that BLM thoroughly analyzed the impact of the Project on sage-grouse
functional habitat.



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e.g., AR 71362 (“The action alternatives would result in a loss or modification to

113 acres of GHMA[General Habitat Management Area].”).)

      Finally, the Court rejects BLM’s and P4’s attempts to minimize and

downplay the value of the Project Area for sage-grouse habitat. First, although the

habitat is classified as “marginal,” all habitat for the East Idaho Uplands population

is similarly classified as “marginal” and, further, most of the Project Area is

designated sage-grouse habitat. (See AR 16527, 16533, 71472.) Moreover, the

record makes clear that seasonal habitat had not yet been identified in the analysis

area only because the needed mapping in the vicinity of the Project Area had not

yet occurred. (See AR 71476 (explaining that seasonal habitats have not been

identified and that previous “attempts at seasonal habitat mapping in proximity to

the Project Area hadn’t occurred”). Finally, as noted, there are multiple leks in the

vicinity of the Project, as well as numerous sage-grouse sightings.

      In sum, BLM failed to adequately consider the impact of the Project on

sage-grouse functional habitat.

                   b. Risk of Extirpation

      CBD argues that BLM failed to adequately consider and analyze whether the




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Project would put the local sage-grouse population at greater risk of extirpation.6

BLM does not dispute that extirpation was not explicitly discussed in the FEIS.

However, BLM contends that the issue of extirpation is critically interrelated to the

loss of functional habitat, that habitat loss is addressed throughout the FEIS, and

that BLM has thus complied with NEPA. The Court disagrees.

       The local population—the East Idaho Uplands population—is classified as

being at “high risk,” and is isolated with a low probability of persistence. (AR

16508, 65117, 65171-72.) Leks in the Project Area have also exhibited declining

counts since the mid-1970s. (AR 71354.) Habitat loss and fragmentation contribute

to the isolation of a population and the risk of extirpation. (AR 65104.) And here,

the Project would eliminate a large amount of the local sage-grouse population’s

habitat, negatively impacting connectivity. According to the FEIS, the Project will

result in the loss or modification of 113 acres of the GHMA and 868 acres of key

habitat outside of the GHMA, for a total loss or modification of 981 acres of

largely intact/mature habitat “within a region where Greater Sage-Grouse habitat is

already patchily distributed.” (AR 71362.) The FEIS concluded that the overall

effects of the habitat loss “would be expected to be long-term and moderate.” (AR



       6
          The term extirpation means that a species no longer exists in a particular area, but still
exists elsewhere.



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71362.) However, there is no discussion or evaluation in the FEIS of the impact on

the viability of the local population.

      BLM and P4 have provided citations to particular pages in the record in

support of their arguments that the risk of extirpation was adequately considered.

For example, they provide a citation to portions of the FEIS that discuss the current

status of the local sage-grouse population; how the “loss or modification of habitat

types would . . . contribute to habitat fragmentation into smaller, isolated patches”;

how “populations at the margins of suitable habitat . . . are less likely to be robust”;

and how removal of vegetation types suited to species can result in “individual

mortality” and loss of breeding sites. (AR 71354-55, 71362, 71455-573, 71471,

71593-651.) While these aspects of BLM’s analyses are important and necessary,

they are simply insufficient to demonstrate that BLM adequately considered the

impact of the Project on the viability of the local population.

      In sum, the analysis and discussion in the FEIS regarding habitat loss is

simply insufficient to meet BLM’s obligation to adequately consider the impact of

the Project on the viability of the local sage-grouse population.

                    c. Connectivity between populations

      CBD contends that BLM violated NEPA by entirely failing to consider how

the mine would impact connectivity between sage-grouse populations, despite the

importance of connectivity to species viability and despite comments requesting


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that BLM consider whether the mine would impair connectivity between the local

population and other populations.

       Connectivity between sage-grouse populations, or “population

connectivity,” refers to the ability of sage-grouse to intermingle with neighboring

populations. Population connectivity is critical for maintaining the viability of the

species because it allows for genetic interchange and movements between breeding

populations. (AR 36914, 62255, 47826, 65129, 62178.) Loss of population

connectivity can increase population isolation and result in the loss of genetic

diversity and extirpation from stochastic events, such as drought or wildfire. W.

Watersheds Project v. Bernhardt, 519 F. Supp. 3d 763, 799 (D. Idaho 2021).

       BLM does not dispute the importance of population connectivity, nor does

BLM dispute that it was required to give adequate consideration to population

connectivity.7 BLM instead takes the position that it adequately considered and




       7
         At the same time, BLM and P4 appear to take the position that BLM was not required to
consider population connectivity. They point out that the local population is not within a Priority
Area for Conservation identified by FWS, the local population was the only population in the
assessment area, and the local population is separated from adjacent populations by 18 to 31
miles. However, they do not provide a citation to the record that support their position that
population connectivity was not relevant and did not need to be analyzed. Indeed, the record
indicates that seasonal migrations of sage grouse of up to 100 miles have been noted, and
average migration is around 21 miles. (AR 62178.) The Court rejects BLM’s and P4’s attempts
to minimize the importance of, and justify the lack of assessment of, the impact of the Project on
population connectivity.



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disclosed the expected impacts the Project would have on population connectivity.

However, the citations provided by BLM and P4 do not demonstrate adequate

consideration of this critical factor in maintaining the viability of the local sage-

grouse population.

      For example, BLM cites to AR 71474, 71482, and 71483. These portions of

the record discuss habitat connectivity, e.g., connectivity between habitat patches

and seasonal use areas by the same population. There is no discussion of

population connectivity or the impact of the Project on population connectivity.

      BLM also cites AR 71342, at which the FEIS discusses that the analysis area

is intended to encompass locations where direct and indirect effects from the

Project could occur; that the analysis area for wildlife other than sage-grouse was

29,346 acres; and that the analysis area for the sage-grouse was approximately

100,000 acres. However, again, there is no discussion of population connectivity or

the impact of the Project on population connectivity.

      Finally, BLM cites AR 71353, at which the FEIS discusses sensitive wildlife

in the analysis area, including sage-grouse. The FEIS references the project-

specific sage-grouse habitat assessment report contained in Appendix C of the

FEIS and summarizes some of the findings from that assessment, including that the

assessment area contains 17,602 acres of key habitat; that the habitat was rated as




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marginal; and that the Eastern Idaho sage-grouse populations “are isolated.” (AR

71353.) Once again, there is no discussion of population connectivity or the impact

of the Project on population connectivity.

      P4 provides additional citations in support of BLM, including to the project-

specific sage-grouse habitat assessment report (AR 71471-72, 16541); to a map

that shows the different sage-grouse conservation areas (AR 36257); and to a table

that sets out the sage-grouse populations in Idaho and Montana (AR 65118). There

is not, however, any discussion of population connectivity or the impact of the

Project on population connectivity.

      In sum, BLM failed to adequately consider the impact of the Project on the

connectivity of the local sage-grouse population with other sage-grouse

populations.

               2. Cumulative impact on sage-grouse

      CBD argues that BLM failed to take a hard look at the impacts of the Project

by failing to adequately consider the cumulative impacts of the past, present, and

reasonably foreseeable future projects on sage-grouse. The Court agrees.

      NEPA requires that an EIS consider the cumulative impact of the proposed

action. 40 C.F.R. § 1508.7. “Cumulative impact is the impact on the environment

which results from the incremental impact of the action when added to other past,

present, and reasonably foreseeable future actions regardless of what agency


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(Federal or non-Federal) or person undertakes such other actions.” Id. “A proper

consideration of the cumulative impacts of a project requires some quantified or

detailed information; general statements about possible effects and some risk do

not constitute a hard look absent a justification regarding why more definitive

information could not be provided.” Great Basin Mine Watch v. Hankins, 456 F.3d

955, 971 (9th Cir. 2006) (emphasis in original) (quoting Klamath-Siskiyou

Wildlands Ctr. v. Bureau of Land Management, 387 F.3d 989, 993 (9th Cir.

2004)). “The analysis must be more than perfunctory; it must provide a useful

analysis of the cumulative impacts of past, present, and future projects in the area.”

Id. (citation omitted). Further, the “cumulative impacts analysis must do more than

merely catalogue relevant projects in the area.” Indigenous Env. Network v. U.S.

Dept. of State, 347 F. Supp. 3d 561, 578 (D. Mont. 2018). Instead, the agency must

discuss and analyze the impacts of the projects “in sufficient detail to assist ‘the

decisionmaker in deciding whether, or how, to alter the program to lessen

cumulative impacts.’ ” Id. (citing Great Basin Mine Watch v. Hankins, 456 F.3d

955, 971 (9th Cir. 2006)).

      Here, BLM contends that it adequately analyzed the Project’s cumulative

impacts on sage-grouse by engaging in an expansive cumulative impacts

assessment that encompassed approximately 452,000 acres and included past,




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present, and reasonably foreseeable future actions and disturbances within the area.

(Dkt. 61-1 at 24-26 (citing AR 71286-88, 71289, 71330, 71341-42, 71364-65,

71475-76, 71483, 71501); Dkt. 70 at 9-10). P4 similarly contends that the FEIS

adequately discussed the cumulative impacts of the Project, including all past,

present, and reasonably foreseeable future projects. (Dkt. 71 at 13-14 (citing AR

71364); Dkt. 64-1 at 19-21 citing 71321, 71325, 71326, 71334, 71342-43, 71364).)

The cited portions of the record do not, however, provide an adequate discussion of

the cumulative impacts on sage-grouse of the past, present, and future projects.

      For example, at AR 71286-89, the FEIS contains a table that provides a

catalogue of the past, present, and anticipated future projects, including the

timeframe for each project, the number of acres involved, and a short description

of the project for present and future projects. There is no discussion regarding the

cumulative impacts of the past, present, and future projects on sage-grouse.

      At AR 71325 and 71326, the FEIS discusses the noise analysis area specific

to sage-grouse. There is not, however, any discussion regarding the cumulative

impacts the past, present, and future projects would have on sage-grouse.

      At AR 71330, the FEIS discusses cumulative effects for noise. This generic

discuss does not address the cumulative impacts of past, present, and future

projects on sage-grouse.




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      At AR 71341-43, the FEIS discusses the cumulative effects for vegetation.

The FEIS concludes that past projects have resulted in about 44,045 acres of

disturbance, or about 10 percent of the 452,000 acres of cumulative effects analysis

area; and that anticipated future projects, including the Caldwell Canyon Project,

would add about 6,900 acres of disturbance, with a cumulative disturbance of

about 64,600 acres. (AR 71341-42.) Lacking, again, is any discussion of the

cumulative impacts of this loss or disturbance of vegetation on sage-grouse.

      At AR 71364-65, the FEIS discusses the cumulative impacts for wildlife.

This portion of the FEIS includes the following general discussion regarding

wildlife impacts:

      Negative effects on wildlife from actions in the cumulative effects
      analysis include mortality of individual wildlife, loss of habitat,
      reduction of habitat functionality, displacement of wildlife from
      suitable habitat due to human activity, and habitat fragmentation
      resulting from these effects. The Caldwell Canyon Project would add
      to the cumulative negative effects on wildlife that use sagebrush,
      conifer, aspen, grassland, other shrub, and wetland/riparian habitat
      types.

(AR 71364.) There is no discussion of the cumulative impacts on sage-grouse or

any other species. Instead, the FEIS merely lumps all wildlife into a single,

generalized discussion. This is insufficient. See Klamath-Siskiuyou Wildlands Ctr.,

387 F.3d at 995; Bark, 958 F.3d at 872 (“[G]eneral statements about possible

effects and some risk do not constitute a hard look absent a justification why more



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definitive information could not be provided.”)

      At AR 71475-76, 71483, and 71501, the FEIS supplement 01 (the Final

Greater Sage-Grouse Habitat Assessment Technical Report) discusses habitat

availability for sage-grouse and anthropogenic disturbances to the habitat. This

report discusses generally how past development and disturbances have impacted

the habitat. It does not, however, include a discussion of the cumulative impact on

sage-grouse of the past, present, and anticipated future projects. For example, the

Dairy Syncline Mine is a future project located approximately 2 miles south of the

Caldwell Canyon Project. (AR 71287, 71465.) Yet, there is no discussion

regarding the close proximity of this anticipated future project to the Caldwell

Canyon Project, nor is there any discussion of the cumulative impact this future

project would have on sage-grouse in light of that proximity.

      In sum, the cited portions of the FEIS lack any analysis or discussion of the

cumulative impact on sage-grouse of the past, present, and future projects. Further,

to the extent the cited portions of the FEIS discuss cumulative impacts on wildlife,

all wildlife species are lumped into a single, generalized discussion, and there is no

discussion of the cumulative impacts on sage-grouse. Indeed, BLM appears to have

taken the position that it was not required to engage in such an analysis. (See AR

71693 (BLM stating in response to comment: “The analysis of the effects of past




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mining, roads, grazing is outside the scope of the Caldwell Canyon EIS.”)

      BLM does not deny that sage-grouse are not explicitly named in the sections

of the FEIS discussing cumulative impacts. BLM contends, however, that the

“context of the FEIS and supporting habitat assessments allows for identification

of habitat degradation that would impact the species.” This is insufficient to

comply with NEPA as it does not demonstrate that BLM adequately considered

and analyzed the cumulative impact of past, present, and future projects on sage-

grouse, a species that is sensitive to cumulative impacts and will eventually

abandon an area when habitat disturbance reaches a certain threshold. (See AR

36909 (“The cumulative effects of management . . . can greatly influence regional

extirpation of sage-grouse.”); AR 62265 (“Sage-grouse eventually avoid areas with

high density of anthropogenic features even if site-scale conditions are suitable. . . .

[T]here is mounting evidence that sage-grouse are sensitive to human disturbances

and will avoid areas they once used if those areas have been altered by

anthropogenic features that exceed some threshold.”).)

      D.     BLM failed to take a hard look at impacts to water resources

             1. Selenium-contaminated dust

      The FEIS explains that the Project will produce fugitive dust containing

selenium that will enter into the Blackfoot River, and its tributaries, including Dry

Valley Creek, which are already classified as “impaired” for selenium under the


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Clean Water Act.8 (AR 71323-24, 71300.) The FEIS concludes, however, that “it is

very unlikely that the dust would increase the selenium concentration in the river

water to the acute or chronic aquatic life standards.” (AR 71312).9

       CBD argues that BLM failed to take a hard look at the effects on water

quality of the selenium-contaminated fugitive dust that the Project will produce.

Specifically, CBD argues that BLM did not adequately disclose how it analyzed

selenium-contaminated dust, how it accounted for the already elevated selenium

levels in the waters, or how the dust emissions will impact the Blackfoot River or

its tributaries.

                      a. Disclosure of BLM’s methodology

       CBD argues that BLM failed to adequately disclose how it analyzed

selenium-contaminated fugitive dust and how those dust emissions will impact the




       8
        Being classified as “impaired” for selenium under the Clean Water Act means that the
selenium concentrations in the waters already exceed state water quality standards
       9
          BLM admits, in its response brief, that this statement is inaccurate because some
selenium from dust would be added as a result of the Project. (Dkt. 61-1 at 46 n.18.) BLM
insists, however, that this inaccuracy in the FEIS is not fatal because BLM “reasonably predicted
that the impact from deposition of dust would be nominal.” Id. In support, BLM cites AR 71312.
However, AR 71312 merely states, as noted, that “it is very unlikely that the dust would increase
the selenium concentration in the river water to the acute or chronic aquatic life standards” and,
further, that “Designated beneficial uses for the Blackfoot River . . . would not be affected
because selenium, other COPCs, and sediment would not be added . . . .” (AR 71312.) The Court
finds this error to be harmless in light of the acknowledgement in the FEIS and the studies the
FEIS relies upon that the Project will add selenium to the surface waters.



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Blackfoot River or its tributaries, and that BLM reached its conclusions regarding

the impact of the dust based on “undisclosed modeling calculations.”

      In formulating an EIS, an agency must “ensure the professional integrity,

including scientific integrity, of the discussions and analyses.” 40 C.F.R § 1502.23.

This requires the agency to “make use of reliable existing data and resources,”

“identify any methodologies used,” and “make explicit reference to the scientific

and other sources relied upon for conclusions” in the EIS. Id.

      Here, the FEIS explains that “selenium carried on airborne dust from the

mine could be deposited on surface water,” but that a “conservative model of the

selenium in dust from the mine found negligible effects on selenium concentrations

in surface water.” (AR 71271.) The FEIS relies on baseline water studies

conducted between 2014 and 2016 to obtain flow rates and baseline water quality,

including for selenium, in the Blackfoot River and its tributaries, noting that these

studies provided detailed discussion of the baseline data collected and

interpretations of that data. (AR 71295-96, 71300 (citing AR12579-15296 (Water

Resources Baseline Technical Report); AR 10152-10178 (Addendum to Water

Resources Baseline Technical Report); AR 16605-19463 (Addendum No. 2 to

Water Resources Baseline Technical Report)).

      The FEIS acknowledges that selenium-contaminated dust would be




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generated during mining, but concludes that, “[b]ased on modeling, only a small

portion of that dust would be deposited into the Blackfoot River, it is very unlikely

that the dust would increase the selenium concentration in the river water to the

acute or chronic aquatic life standards.” (AR 71312.) The FEIS further concludes

that “Designated beneficial uses for the Blackfoot River . . . would not be affected

because selenium . . . would not be added. . . .”10 (Id.) To reach these conclusions,

the FEIS relies on an April 2018 technical evaluation that explains that a Gaussian

plume model was used to determine the fugitive dust transport distance, and further

explains how that model works and the inputs used for the model. (AR 20534-50.)

The Court finds this explanation of the methodology used, in combination with

other explanations throughout the record, and references to the various reports

BLM relied upon, to be more than adequate to meet the requirement that the

agency “identify the methodologies used” and “make explicit reference to the

scientific and other sources relied upon for conclusions.” 40 C.F.R § 1502.23.

                       b. Consideration of the impact of fugitive selenium-
                          contaminated dust

       CBD contends that BLM violated NEPA by mischaracterizing both the




       10
            Again, BLM acknowledges that this statement is inaccurate and that some dust would
be added.



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baseline water quality of the Blackfoot River and its tributaries, and the Project’s

additive impact on the selenium levels in these already selenium impaired waters.

      As previously noted, the Blackfoot River and tributary Dry Valley Creek are

already selenium impaired under the Clean Water Act meaning they have selenium

concentrations above state water quality standards. (AR 71300.) The April 2018

technical report, upon which the FEIS relies, specifically acknowledges the

selenium contamination in these waters. (AR 20543-44.) This report identifies the

average selenium concentrations from the two locations of the Blackfoot River

closest to the Project for the period 2001 to 2012. (AR 20543-44.) These average

selenium concentrations were obtained from a U.S. Geological Survey study that

collected samples from 21 locations on the Blackfoot River. (AR 20543.)

      The report estimates that the impact the Project would have on the average

selenium concentrations in the Blackfoot River is “a small portion of these average

concentrations (0.5% to 0.7%).” (AR 20544.) The report also examines the average

daily load of selenium in the river, again using USGS data, and compares it with

the expected annual and average daily load from the Project. (Id.) The report

analyzes a worst-case scenario in which all fugitive dust from the Project for an

entire year would be deposited into the Blackfoot River and finds the impacts on

the waters would be minimal when compared with background levels. (AR 20542.)




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      The calculations in the technical report were also reviewed by TetraTech,

the third-party EIS contractor for BLM. (AR 26247-63.) A TetraTech senior

quality engineer stated that she had reviewed the report and agreed with the

calculations. (AR 26263.) Similarly, the Idaho Department of Environmental

Quality (IDEQ) also reviewed the report and indicated agreement with “these

hypothetical calcs,” and that “showing the extreme case here better illustrates that

airborne dust is not an issue.” (AR 77325.)

      Finally, the Record of Decision (ROD) approved the Project subject to P4

obtaining “documentation from the IDEQ that the Caldwell Canyon Mine

conforms to the Clean Water Act.” (AR 4051.) IDEQ provided that documentation,

stating that IDEQ has determined that the Project “will be compliant with Idaho’s

Water Quality Standards. . . if operated in agreement with the FEIS.” (AR 77098.)

      The Court finds that BLM adequately analyzed and disclosed the baseline

water quality of the Blackfoot River and its tributaries, and the Project’s additive

impact on the selenium levels in these waters.

             2. Cumulative impacts on water resources

      CBD argues that BLM violated NEPA by failing to take a hard look at the

cumulative impacts to water resources from the Project. Specifically, CBD

contends that BLM did not provide quantified and detailed information about the

cumulative impacts of past, present, and future projects on the water resources. The


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Court disagrees.

      The FEIS provides a list of the past, present, and anticipated future projects,

including the status of the projects, the period of activity, and a description of the

projects, including the number of acres. (AR 71286-88.) The FEIS also considers

the impacts that past and present projects have had on the water resources,

including by referencing and incorporating the study area map and scientific

studies containing quantifiable data on selenium contamination in groundwater and

surface water within the study area. (AR 71321-22; see 53848-91 (2015 report on

“Selenium in the Upper Blackfoot River Watershed, Southeastern Idaho, 2001-

12”); AR 58213-58567 (1983 report on “Thermal Ground Water Flow Systems in

the Thrust Zone in Southeastern Idaho”).) The FEIS describes how the baseline

water quality has been impacted by past actions, including impairment levels for

specific surface waters and elevated baseline levels of selenium in groundwater.

(AR 71300-02.) The FEIS thus summarizes the cumulative impact of past and

present projects on selenium contamination in the surface and ground waters,

including acknowledgement that past and present actions have degraded water

quality.

      The FEIS also notes that recent “analysis methods and regulatory

requirements have resulted in the design of the active projects showing little




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potential for future impacts to beneficial uses.” (AR 71321.) The FEIS further

notes the aspects of past projects that have contributed to the contamination (open

pits and overburden piles from mining projects), the surface waters that have been

impacted, and the levels of contamination for both surface water and groundwater.

(AR 71321.) Finally, the FEIS analyzes the interaction between potential

groundwater plumes from the Project and past projects, such as the Conda Mine.

(AR 71321-22.)

      These discussion of cumulative impacts on water resources of past, present,

and future projects are adequate to comply with NEPA.

      E.     BLM considered the required range of alternatives.

      NEPA’s implementing regulations require agencies to “evaluate reasonable

alternatives to the proposed action, and, for alternatives that the agency eliminated

from detailed study, briefly discuss the reasons for their elimination.” 40 C.F.R.

§ 1502.14(a). The range of reasonable alternatives is “dictated by the nature and

scope of the proposed action,” and must be “sufficient to permit a reasoned

choice.” Alaska Wilderness Rec. & Tourism v. Morrison, 67 F.3d 723, 729 (9th

Cir. 1995) (citations and quotation marked omitted).

      Here, CBD claims that BLM violated NEPA by failing to consider

reasonable alternatives, and specifically by (1) evaluating virtually identical

alternatives that were not varied enough to allow for a real, informed choice, and


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(2) by improperly ignoring or rejecting other reasonable alternatives proposed in

public comments.

             1. Virtually Identical Alternatives

      BLM considered only two alternatives (in addition to the no action

alternative)—the proposal alternative and Alternative 1. CBD contends that these

two alternatives were nearly identical and were thus inadequate. The Court

disagrees.

      As BLM points out, Alternative 1 was developed to address concerns about

the impact the proposed action was expected to have on groundwater plumes.

Alternative 1 requires P4 to place a geosynthetic membrane on backfill areas in the

mine pits to reduce the rate that COPCs reach groundwater. (AR 71261-63.) Thus,

the alternatives are different in what they require, and have differing anticipated

effects on groundwater. Indeed, it was this differing effect on groundwater that led

BLM to ultimately choose Alternative 1 over the proposed action. The difference

between the proposal alternative and Alternative 1 is sufficient to distinguish the

alternatives and fulfill the requirement that BLM evaluate reasonable alternatives

to the proposed action.

             2. Rejection or failure to consider alternatives proposed in public
                comments

      CBD also contends that BLM unreasonably rejected without reasonable



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explanation at least two other alternatives proposed in public comments—the

fringe lease alternative and an alternative of keeping the existing boundaries in

place.

                     a. Fringe lease alternative

         CBD notes that a fringe lease alternative was raised as an alternative in

public comments and was available to BLM. (AR 28504 (comment that the EIS

“should explain why BLM proposes to increase the size of the existing phosphate

lease (lease modification) by 670 acres rather than issue a new lease (fringe

acreage lease).) CBD explains that a fringe lease would allow BLM to impose

more stringent lease stipulations for protection of the sage-grouse and other

resources. CBD argues that BLM violated NEPA by failing to consider or provide

an explanation for rejecting this fringe lease alternative.

         BLM explains that it did not consider or analyze a fringe lease alternative

because it was outside the scope of the purpose and needs of the Project and thus

did not need to be considered. However, BLM does not provide any citation to the

record at which it provided this or any other explanation for rejecting or otherwise

failing to consider the proposed fringe lease alternative. And the Court cannot

consider BLM’s post-hoc rationalizations for failing to consider this alternative.

See High Country Conservation Advocates v. U.S. Forest Service, 951 F.3d 1127,

1125 (10th Cir. 2020) (“We cannot consider a ‘post-hoc rationalization’ for


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eliminating an alternative from consideration in an EIS.”). BLM thus violated

NEPA by failing to comply with the requirement that, “for alternatives that the

agency eliminated from detailed study, [the agency] briefly discuss the reasons for

their elimination.” 40 C.F.R. § 1502.14(a).

                   b. Keeping lease boundaries alternative

      Plaintiffs argue that BLM unreasonably rejected the proposed alternative of

keeping the existing lease boundaries in place, which Plaintiffs argue would better

preserve surface resources such as sage-grouse.

      The FEIS explains why BLM rejected this proposed alternative:

      An alternative that would approve a mine plan but without the lease
      modifications was suggested in public comments to address impacts
      to Greater Sage-Grouse habitat that could result from the lease
      modification. This alternative would eliminate disturbance of
      approximately 113 acres in General Habitat Management Area. Not
      modifying the lease would result in a need to redesign the pit walls.

      ....

      . . . . This alternative was not analyzed in detail because the
      disturbance of 113 acres of GHMA when there is 7.25 million acres of
      primary and important habitat protected in Idaho is a negligible
      impact and not modifying the lease boundary would result in the
      approximately 11.2 million tons of ore not being mined in the leases
      and the lease modifications, which would not allow ultimate
      maximum recovery and use of all known mineral resources in
      accordance with 43 CFR 35900.

(AR 71269.)




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Plaintiff argues that in rejecting this alternative, BLM failed to acknowledge or

discuss several important factors, including that ultimate maximum recovery is not

a reasonable ground for rejecting the alternative of leaving the lease boundaries in

place. However, BLM was not required to engage in extensive discussion of this

rejected alternative and instead was only required to provide a brief discussion of

the reasons it eliminated the alternative. BLM’s discussion complied with that

requirement.

                                FLPMA CLAIMS

      CBD contends that BLM violated the Federal Land Policy and Management

Act (FLPMA) because the Project violates various Range Management Plan

requirements for the protection of greater sage-grouse. Specifically, CBD contends

that BLM failed to ensure that the Project complies with the 2012 Pocatello Range

Management Plan (AR 34939-5338), the 2015 Idaho and Southwestern Montana

Greater Sage Grouse Approved Resource Management Amendment (2015

ARMPA) (AR 36152-557), and the 2019 Idaho Greater Sage Grouse Record of

Decision and Approved Resource Management Plan Amendment (2019 ARMPA)

(AR 36575-645).

      The 2019 ARMPA, adopted in March 2019, was in effect at the time the

ROD was issued but was subsequently preliminarily enjoined by this Court. See




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WWP v. Schneider, 417 F. Supp. 3d 1319 (D. Idaho 2019).11 The ROWs at issue in

this case were authorized after the injunction was issued and thus when the 2015

ARMPA was in effect. Accordingly, although the ROD was issued under the 2019

ARMPA, the ROWs were issued after the 2019 ARMPA was enjoined and are thus

subject to the 2015 ARMPA.12

       Turning first to the general applicability of the various provisions of the

ARMPA13 and the Pocatello Resource Management Plan (RMP), the parties appear

to agree that applicability depends primarily on land ownership and habitat

classification. Thus, the Pocatello RMP applies to all BLM-administered lands in

the Project Area, including non-federal surface with federal mineral rights (split

estate). The ARMPAs applying only to the subset of these lands that have been

designated as General Habitat Management Area (GHMA) (AR 3540, 35013,




       11
         “The BLM is enjoined from implementing the 2019 BLM Sage-Grouse Plan
Amendments for Idaho, Wyoming, Colorado, Utah, Nevada/Northeastern California, and
Oregon, until such time as the Court can adjudicate the claims on the merits. The 2015 Plans
remain in effect during this time.” WWP v. Schneider, 417 F. Supp. 3d 1319, 1335 (D. Idaho
2019).
       12
          BLM appears to argue that the ROWs should be subject to the 2019 ARMPA rather
than the 2015 ARMPA. BLM also appears to argue that the Court should defer to BLM;s
interpretation that the issuance of the ROD did not trigger ARMPA requirements related to the
pending Dry Valley lek.
       13
         Because the ROWs are subject to the 2015 ARMPA, any reference to the ARMPA in
the remainder of this decision is to the 2015 ARMPA.



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36165, 36162, 42421). Further, if there are inconsistencies between the RMP and

the ARMPA, the more restrictive provision applies (AR 36178, 36176).

      The Pocatello RMP provides that new infrastructure facilities/structures

requiring permanent surface occupancy are to be “sited in a manner that avoids

sage-grouse habitat to the extent possible and will be placed at least 2.0 miles from

occupied leks or other important sage-grouse seasonal habitats as identified

locally.” (AR 34972.) An “occupied lek” is, in turn, defined as a “lek where at least

two or more male sage-grouse have attended in two or more of the previous five

years.” (AR 35081.)

      The 2015 ARMPA provides that linear features (such as roads) and “surface

disturbance (continuing human activities that alter or remove the natural

vegetation)” are to be at least 3.1 miles from leks. (AR 36260.) Tall structures,

such as communication or transmission towers and transmission lines are to be at

least 2.0 miles from leks. (Id.) Further, BLM may approve a project within these

lek buffers only if it is not possible to relocate the project outside of the buffer and

(1) “[b]ased on best available science, landscape features, and other existing

protections . . ., the BLM determines that a lek buffer-distance other than the

applicable distance identified above offers the same or a greater level of protection

to [sage-grouse], and its habitat, including conservation of seasonal habitat outside




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of the analyzed buffer area”; (2) “BLM determines that impacts to GRSG and its

habitat are minimized such that the project will cause minor or no new

disturbance . . . ; or (3) “[a]ny residual impacts within the lek buffer-distances are

addressed through compensatory mitigation measures sufficient to ensure a net

conservation gain . . . .” (AR 36261.) Use of exemption criteria must be analyzed

and disclosed and, further, third parties must provide compensatory mitigation

sufficient to ensure “net conservation gain” for the species. (AR 36260, 36376.)

      With these provisions in mind, the Court turns to CBD’s FLPMA claims.

      A.       Slug Creek power line claim is moot

      CBD contends that BLM unlawfully approved the Slug Creek power line,

which was to be constructed above ground and within 2 miles of the Dry Creek

Lek. However, as P4 points out, P4’s proposed modification to the Project, which

has been approved, provides that P4 will no longer require a separate power line

along Slug Creek Road as originally contemplated and that power to the site will

instead be supplied via a buried power line in the haul road from a substation in

Dry Valley. CBD’s challenge to the overhead power line along Slug Creek Road is

therefore moot. (See Dkt. 66 at 24 (based on P4’s representation that it will not be

constructing the Slug Creek power line, Plaintiffs are no longer pursuing this

issue).




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       B.     BLM unlawfully approved ROW for the East Caldwell haul road
              and utilities within the Dry Valley lek14 buffers

       CBD contends that the ROW corridor for the East Caldwell Haul Road,

Water Pipeline, and Fiber Optic Line is located within 2 miles of the Dry Valley

lek 3C040 and that approval of this ROW thus violates the ARMPA.

       BLM does not deny that this ROW corridor is located within 2.0 miles of the

Dry Valley lek but contends that the ARMPA lek buffer does not apply because

(1) the Dry Valley lek is not “occupied” and is instead “pending”; and (2) the Dry

Valley lek is located on private land.

              1. Whether the Dry Valley lek was “pending” or “occupied”

       BLM and P4 argue that the ARMPA lek buffers are inapplicable to the Dry

Valley lek because that lek is designated by the Idaho Department of Fish and

Game (IDFG) as “pending” status (AR 74248) and the ARMPA does not designate

or manage leks that are designated as “pending” status, let alone regulate activity

in proximity to a “pending” lek. The Court rejects this reasoning and finds that

BLM violated FLPMA when it approved the haul road and utility corridor.

       First, the record demonstrates that the Dry Valley lek has shown three




       14
          The lek is sometimes referred to as the Dry Creek lek and other times the Dry Valley
lek. The Court will refer to it as the Dry Valley lek.



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consecutive years of spring breeding activity and that the lek thus falls squarely

within the “lek, occupied” definition of the ARMPA. (AR 36225 (“Lek, occupied.

Idaho—A lek that has been active during at least one breeding season within the

prior five years.”).) BLM and P4 take the position that these lek observations

occurred at three slightly different locations and that the Dry Valley lek is not,

therefore, an occupied lek. However, BLM itself ultimately determined that these

sightings constitute a single lek. (AR 71694 (FEIS noting that a study found that

pending lek 3C089 “is considered to be the same birds that displayed at pending

lek 3C040”); AR 71362 (FEIS calling Dry Valley lek an “occupied” lek and noting

that “the three display locations” in the area in 2016, 2017, and 2018 “constitute

one set of birds”).

      Second, the Court finds BLM’s reliance on IDFG’s designation of the lek as

“pending” status to be improper. The ARMPA does not include a “pending” lek

status and instead contains only four possible lek status designations—active,

inactive, occupied, and unoccupied. (AR 36225.) “Pending” is thus not an

appropriate status designation under the ARMPA. As BLM points out, the

ARMPA directs that, “In determining lek locations, the BLM will use the most

recent active or occupied lek data available from the state wildlife agency.” (AR

36260 (emphasis added).) This language does not, however, indicate that BLM is




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to adopt a state’s status designation of a lek when that status designation is not an

appropriate designation under the ARMPA. Instead, where, as here, the state has

applied a status designation that is not appropriate under the ARMPA, BLM may

not merely rely upon that status designation but must instead look to the underlying

data available from the state to determine into which ARMPA status designation

the lek falls.

           In sum, BLM acted unreasonably when it blindly adopted the IDFG

“pending” lek designation even though that designation is not covered by the

ARMPA and then failed to use the most recent data available from the IDFG to

determine into which of the ARMPA lek status designations the Dry Valley lek

falls.15

                 2. The lek buffer applies despite the location of the Dry Valley lek
                    on private land

           BLM contends that, even if the Dry Valley lek could be considered “active”

or “occupied,” because the lek is located on private land, BLM did not have




           15
          The Court questions whether BLM would be allowed to blindly adopt an IDFG lek
status designation that is covered by the ARMPA where the underlying data available to BLM
demonstrates that the IDFG’s lek status designation is inconsistent with the ARMPA definitions.
However, the Court need not reach that issue here because the IDFG designation of the lek as
“pending” is simply not appropriate under the ARMPA. Thus, BLM was required to look at the
data (not the designation) available from the state and determine the status of the lek based on
the ARMPA definitions.



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authority to and was not required to apply, the ARMPA lek buffer. The Court

disagrees.

      The ARMPA decision area is defined as “BLM-administered lands in GRSG

habitat management areas . . . including surface and split-estate lands with BLM

subsurface mineral rights.” (AR 36165.) Here, there is no dispute that the Project

Area is on BLM-administered lands in GRSG habitat management area and is thus

subject to the ARMPA. There is also no dispute that the ARMPA prohibits BLM

from approving certain habitat-destructing activities in GHMA and PHMA within

specified distances from leks. (AR 36261 (BLM may not “approve actions in

[PHMA, GHMA, and IHMA] that are within the applicable lek buffer distance

identified” unless a specific exemption applies); AR 36192 (“In undertaking BLM

management activities. . . BLM will apply the lek buffer-distances”).) Thus, the

question comes down to whether activities within the Project Area can be

prohibited under the ARMPA based on the destructive impact that those activities

will have on habitat and wildlife located outside of the Project area on private land.

The Court answers that question in the affirmative.

      To put it in more concrete terms, here the challenged action is the location of

the ROW for the haul road and utilities within the buffer for the Dry Valley lek.

This action—the ROW—is within the Project Area and is thus on BLM-




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administered surface or split estate in GHMA. Thus, the challenged action falls

within the purview of the AMPRA. The destructive impact of that action will

extend to the lek. Thus, the protections provided by the ARMPA from the habitat-

destructing activities occurring in the Project Area (the location of the ROW for

the road and utilities) extend to that lek, even though the lek is located on private

property.

      BLM argues, nonetheless, that enforcement of buffers for leks located on

private lands would create confusion and inconsistency in the field, and perhaps

create a disincentive for nonfederal landowners to cooperate in sage-grouse

conservation efforts. This argument is unconvincing because it ignores, again, that

the action at issue—the location of the haul road and utility ROW corridor—is not

on private land but is, instead, within the Project Area on a BLM-administered

estate. It is merely the protections from habitat-destructing activities that are being

extended to private lands. Thus, the enforcement of the buffer for a lek located on

private land is not imposing a burden on private land but is, instead, providing

protection to private land (and wildlife located thereon) from harms caused by

federally authorized activities occurring on a BLM-administered estate. See

Cominco American Inc., GFS (1976) (agency has authority to impose conditions

on phosphate mining company’s operations on federal lands to protect from the




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offsite private property impacts of those operations).

       In sum, BLM’s failure to apply the mandated protections for the Dry Valley

lek renders BLM’s approval of the haul road and utility corridor ROW arbitrary

and capricious, and contrary to FLPMA.

               3. CBD’s FLPMA lek-buffer compliance claim is not moot.

       P4 argues that any buffer for the Dry Valley lek only applied during the

initial mine development, that the initial mine development has now ended, and

that any relief that Plaintiffs may have sought regarding buffers is now moot

because P4 has finished constructing the challenged portions of the Project.16 The

Court disagrees.

       The declaration submitted by P4 in support of its mootness argument states

that there is still work to be done on completion of the haul roads and installation

of buried utilities in the ROW, and further that there are still multiple years of

work to bring Caldwell Canyon mine online. (See Dkt. 65-1.) Further, completion

of the activity—here the completion of the haul roads and installation of the

utilities—does not moot the issue as long as the Court can still order at least some

effective relief. And, as CBD points out, there is still effective relief available here



       16
           P4 raised its mootness argument for the first time in its reply brief. CBD has moved to
file a surreply to address the argument. (Dkt. 72.) The Court grants that motion.



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as the use and maintenance of the haul road and utility corridor will have ongoing

impacts on the sage-grouse, such as habitat disturbance, noise impacts, and bird-

vehicle collisions. These impacts could be remedied in various ways, such as

through vacating BLM’s ROW approvals, imposing use restrictions, requiring

mitigation actions, or ordering the road and utility removed. Thus, P4’s decision to

complete the haul road and utility corridor while this lawsuit is pending does not

render CBD’s FLPMA claim moot.

      C.      BLM adequately ensured compensatory mitigation that provides
              a net conservation gain to sage-grouse

      The ARMPA requires that,

      in authorizing third party actions that result in habitat loss and
      degradation, the BLM/USFS will require and ensure mitigation that
      provides a net conservation gain to the species including accounting
      for any uncertainty associated with the effectiveness of such
      mitigation. . . . Any compensatory mitigation will be durable, timely,
      and in addition to that which would have resulted without the
      compensatory mitigation.

(AR 36376.)

      Here, P4’s mitigation plan proposes: (1) reclamation of mine pits; (2) a

research project on P4 parent company Bayer AG’s Fox Hills Ranch private

property, located near the Caldwell Canyon Project Area; and (3) an “in-lieu fee”

contribution of $62,273 to the State of Idaho’s sage-grouse mitigation fund. (AR

71574-91.) CBD contends that this mitigation plan is insufficient because it does



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not meet the ARMPA’s timeliness, durability, or additionality requirements, and

the in-lieu fee is far too small.17

       P4 concedes that the reclamation of the mine pits and the research and

associated habitat restoration elements of the mitigation plan do not meet either the

timeliness or durability requirement. (AR 3418 (P4 stating in mitigation plan that

the reclamation of the mine and the research project and associated habitat

restoration do not meet the timeliness criteria for compensatory mitigation because

of a time lag between the impacts and the replacement habitat, and, further, do not

meet the durability requirement because there is no legal assurance that the areas

will be maintained as habitat).) The additionality criteria is also not met as to these

first two elements of the mitigation plan because (1) reclamation of the mine pit is

already legally required, see 43 C.F.R. § 3591.1 (requiring that the surface of

leased lands “be reclaimed”); and (2) the research and habitat restoration project

was already under way before the mine was approved (see AR 3417 (stating in

mitigation plan that Monsanto “has initiated a habit restoration research project at




       17
          BLM does not provide any substantive argument in response to CBD’s claim,
responding only that “BLM’s subsequent authorizations of rights-of-way also did not violate the
2015 ARMPA’s requirement that compensatory mitigation achieve a ‘net conservation gain’ to
greater sage-grouse.” (Dkt. 61-1.)




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its Fox Hills Ranch property,” with the focus of the research “to test several

treatments to restore sagebrush, native bunchgrasses, and native forbs”). Thus, the

mine reclamation and the research and associated habitat restoration would have

occurred even without the compensatory mitigation.

      This leaves only the in-lieu fee contribution of $62, 273—an amount that P4

estimated was sufficient to reclaim 32.1 acres of sage-grouse habitat at P4’s

estimated cost of reclamation of $1,500 per acre. CBD admits that the footprint of

the road and utility corridor are less than 32.1 acres (P4), and P4 represents that the

actual footprint 6.9 acres. CBD contends, however, that BLM’s decision to accept

the in-lieu fee as sufficient to satisfy the “net conservation gain” standard is

arbitrary and capricious because the contribution does not account for all the harms

cause by the haul road and utility corridor. However, as P4 points out, the in-lieu

payment was actually used to restore 414 acres of priority restoration areas at the

Idaho National Laboratory. The Court finds, based on the information before it,

that BLM acted reasonably in accepting the in-lieu contribution from P4 as

sufficient to satisfy the “net conservation gain” standard.

                         CLEAN WATER ACT CLAIMS

      CBD contends that BLM violated the Clean Water Act (CWA) by

authorizing pollution in violation of state standards.




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      A.       BLM’s procedural challenges to CWA claims

      BLM contends that Plaintiffs’ claims under § 313 of the CWA, 33 U.S.C.

§ 1323, are not cognizable because § 313 does not apply to a federal agency’s

authorization of third-party activities. The Court disagrees.

      Section 313 of the CWA, entitled “Federal facilities pollution control,”

provides, in relevant part that each federal agency:

               (1) having jurisdiction over any property of facility, or (2)
                   engaged in any activity resulting, or which may result, in the
                   discharge or runoff of pollutants . . . shall be subject to, and
                   comply with, all Federal, State, interstate, and local
                   requirements, administrative authority and process and
                   sanctions respecting the control and abatement of water
                   pollution in the same manner, and to the same extent as any
                   nongovernmental entity.

33 U.S.C. § 1323(a). This language has been interpreted as providing a limited

waiver of sovereign immunity. See U.S. Dep’t of Energy v. Ohio, 503 U.S. 607,

615 (1992) (section 313 includes a clear waiver of sovereign immunity as to

coercive fines but did not unambiguously waive sovereign immunity for punitive

fines). Indeed, “Congress intended this section to ensure that federal agencies were

required to ‘meet all [water pollution] control requirements as if they were private

citizens.” Ctr. For Native Ecosystems v. Cables, 509 F.3d 1310, 1332 (10th Cir.

2007) (quoting S. Rep. No. 92-414 (1971), as reprinted in 1972 U.S.C.C.A.N.

3668, 3734).



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      Consistent with this intent, the Ninth Circuit has exercised jurisdiction over

claims that an agency violated § 313 by authorizing a third party’s action that

would violate state water quality standards. See Greater Yellowstone Coalition v.

Lewis, 628 F.3d 1143, 1146 (9th Cir. 2010) (“The CWA requires federal agencies

to determine that approved actions do not result in pollution in violation of state

water quality standards. 33 U.S.C. § 1323(a).”).

      “Although the Ninth Circuit has not squarely addressed the scope of CWA

§ 313 under the particular circumstances here . . . it has repeatedly entertained

challenges to agency actions under CWA § 313 that involve authorization of third-

party action.” Central Sierra Env’t Res. Ctr. V. Stanislaus Nat’l Forest, 304 F.

Supp. 3d 916, 934-36 (E.D. Cal. 2018). Further, “[t] here is no requirement in

§ 313 that the government itself be the discharger, only that it undertake an activity

that ‘may result’ in the discharge or runoff of pollutants.” Id. at 937. Here, BLM’s

authorization of a mining project is an activity that will or may result in discharges

or runoff of pollutants. Thus, the Court has jurisdiction under § 313.

      BLM also contends that CBD’s point source discharge claims must be

dismissed because CBD failed to provide the requisite notice required by CWA’s

citizen suit provision, 33 U.S.C. § 1365. Again, the Court disagrees.

      Section 1365 provides, in relevant part, that a citizen may commence an




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action against an agency for alleged violations of an effluent standard or limitation.

33 U.S.C. § 1365(a)(1). In order to maintain such an action, a plaintiff must first

give notice of the violation to the administrator, the state in which the alleged

violation occurred, and any alleged violator of the standard or limitation. Id. at

§ 1365(b)(1)(a). Here, CBD is seeking to enforce state water quality standards,

which do not fall within the definition of effluent standards or limitations and are

not actionable under the citizen suit provision. See id. at 1365(f) (setting out

definition of “effluent standard or limitation”); see also Oregon Nat. Res. Council

v. U.S. Forest Svs, 834 F.2d 842, 850 (9th Cir. 1987) (because the plaintiffs’ claims

did not fall under the citizen suit provision, the plaintiffs were not subject to the

60-day notice requirement). The CWA’s citizen suit notice provision is

accordingly not applicable.

      B.     Merits of the CWA claims

      Turning to the merits of CBD’s claims, CBD argues first that BLM violated

FLPMA and § 313 of the Clean Water Act (CWA) by authorizing pollution in

violation of state water quality standards. CBD points out that FLPMA and the

CWA require federal agencies to comply with applicable state water quality

standards. CBD contends that BLM’s authorizations of the Project fail to require

compliance with Idaho water quality standards and, further, that the Project will

not comply with Idaho law for the control and abatement of water pollution,


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including controls on the discharge or runoff of pollutants. The Court disagrees.

       BLM determined that the Project will comply with Idaho law for the control

and abatement of water pollution, considered the impacts of the Project on surface

water, and conditioned its approval of the Project on receipt from IDEQ of

documentation confirming that the Project conforms to the Clean Water Act. (AR

4035.) BLM received that IDEQ confirmation. (AR 77097-99.)

       BLM also conditioned its approval on P4 obtaining and complying with all

the necessary local, state, and federal permits and authorizations, and complying

with the conditions defined by the authorized agencies. (AR 4031.) BLM required

P4 to monitor water quality and included a surface water monitoring plan (AR

71432-34); fugitive dust control management plan (AR 4057, 71438); best

management practices for minimizing impacts to waters including controlling run-

on and run-off (AR 71439-41); and best management practices for sediment

control (AR 71444). The FEIS also analyzed the expected impacts of the Project

on surface waters and determined that if, the Project is operated in accordance with

the mine reclamation plan and regulatory permits, any discharges would comply

with regulatory limits. (AR 71311 (“Construction and operations conducted in

accordance with the MRP and regulatory permits, would reduce impacts on surface

water levels below regulatory limits.”).)




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       Further, IDEQ helped to prepare the FEIS and evaluated the Project for

compliance with Idaho water quality standards. IDEQ determined that the Project,

using Alternative 1, will be compliant with the state water quality standards and

ground water quality rule if operated in compliance with the FEIS and ROD. (AR

77097-99.) The Court finds the fact that IDEQ, the very agency charged with

enforcing the water quality standards at issue here, was involved in the FEIS

process and determined that the Project would comply with the Idaho water quality

standards, to be very persuasive. Greater Yellowstone Coal. v. Larson, 641 F.

Supp. 2d 1120, 1135 (D. Idaho 2009), aff'd, 403 F. App'x 275 (9th Cir. 2010), and

aff'd sub nom. Greater Yellowstone Coal. v. Lewis, 628 F.3d 1143 (9th Cir. 2010),

as amended (Jan. 25, 2011) (“The Court finds it very persuasive that the very

agency charged with enforcing water quality standards in Idaho was involved from

the beginning of the project, assisted with sampling and interpreting results,

evaluated the cover design, and put its stamp of approval on the project.”).

       CBD also contends that fugitive dust from the Project will violate Idaho’s

antidegradation policy and water pollution control requirements for nonpoint

source pollution by allowing selenium to enter the already selenium-impaired




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Blackfoot River.18 (Dkt. 58-1 at 46-47 (citing Idaho Admin. Code 58.01.02.051 and

58.01.02.350).) As to Idaho’s antidegradation provisions, as BLM points out,

implementation of these provisions require review and evaluation by IDEQ for a

determination of, for example, whether a proposed activity will maintain or protect

beneficial uses. See, e.g., Idaho Admin. Code 58.01.02.052, 58.01.02.052.04-.06,

58.01.02.055, 58.01.02.051.02, 58.01.02.350.01-.02. Here, IDEQ conducted a

review and evaluation of the Project and determined that if the Project is operated

in compliance with the FEIS and ROD, it will comply with state water quality

standards. Nothing more was required.

        As to Idaho’s nonpoint source rules, CBD contends that the Project will

violate the best management practices requirements imposed by state law.

However, Idaho’s nonpoint source pollution policy does not set forth specific best

management practice standards. Instead, it provides that “[b]est management




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           BLM contends that CBD’s fugitive dust claim must be dismissed because CBD failed
to exhaust its remedies on the issue. However, BLM has failed to identify any administrative
exhaustion requirement specific to Plaintiffs’ claims. Nonetheless, assuming there is an
exhaustion requirement, water quality concerns related to both the Blackfoot River and Dry
Valley Creek were raised multiple times during the administrative process, including the impacts
from wind erosion from stockpiles. (See, e.g., AR 27236-43, 28577, 77314, 71683-84, 26257-
58.) Further, there is no need for CBD itself to have personally raised the fugitive dust issue. It is
sufficient that the issue was raised by someone else, and that BLM thus had the opportunity to
address the issue. See Conservation Cong v. U.S. Forest Serv., 555 F. Supp. 2d 1093, 1106 (E.D.
Cal. 2008).



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practices should be designed, implemented and maintained to provide full

protection or maintenance of beneficial uses.” Idaho Admin. Code

58.01.02.350.01a. Further, best management practices are defined as: “A practice

or combination of practices, techniques or measures developed, or identified, by

the designated agency and identified in the state water quality management plan

which are determined to be the cost-effective and practicable means of preventing

or reducing the amount of pollution generated by nonpoint sources to a level

compatible with water quality goals.” Idaho Admin. Code 58.01.02.010.09

(emphasis added). Thus, there are no pre-determined best management practices.

Instead, the identification and implementation of best management practices for

nonpoint source activity is left to IDEQ. CBD does not point to any best

management practice that IDEQ has imposed that the Project would violate.

       CBD further contends that that the Project’s stockpiling of high-selenium

content ore at the processing area on the bank of Dry Valley Creek will violate

Idaho’s prohibition on storage and accumulation of hazardous and deleterious

materials in the immediate vicinity of state waters. (Dkt, 58-1 at 47.) The

regulation upon which CBD relies provides: “Hazardous and deleterious materials

must not be stored, disposed of, or accumulated adjacent to or in the immediate

vicinity of state waters unless adequate measures and controls are provided to




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ensure that those materials will not enter state waters as a result of high water,

precipitation runoff, wind, storage facility failure, accidents in operation, or

unauthorized third party activities.” Idaho Admin. Code 58.01.02.800.01.

       Here, the FEIS provides that ore stockpiles will be managed to mitigate the

impacts to surface waters. (AR 71425-26 (describing water management ponds to

collect run-off from the ore stockpile and Dry Valley triple area); AR 71438

(“Stockpiles will be monitored to ensure that moisture control efforts and stockpile

heights are minimizing fugitive dust emissions.”).) Further, if these ore stockpiles

do present a risk to state waters, state law provides the method for evaluation of

that risk. Specifically, “Measures and controls will be judged by [IDEQ] on the

basis of . . potential of a given occurrence; and . . . potential injury to beneficial

uses presented . . . .” Idaho Admin. Code 58.01.02.800.01. Here, IDEQ determined

that the Project would be compliant with Idaho’s water quality standards if

operated in compliance with the FEIS. (AR 77098.) That determination is

sufficient to meet Idaho’s hazardous and deleterious material storage regulation.

       Finally, CBD contends that point source discharges from the Project will

not comply with Idaho’s water quality standards because they will add selenium

and sediment into the Blackfoot River and its tributaries, which are already failing

state water quality criteria for those pollutants. (Dkt. 58-1 at 47-48.) The regulation




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upon which CBD relies provides:

      No pollutant shall be discharged from a single source or in
      combination with pollutants discharged from other sources in
      concentrations or in a manner that:

             a. Will or can be expected to result in violation of the water
      quality standards applicable to the receiving water body or
      downstream waters; or

              b. Will injure designated or existing beneficial uses; or

             c. Is not authorized by the appropriate authorizing agency for
      those discharges that require authorization.

Idaho Admin. Code 58.01.02.080.

      Here, the FEIS acknowledged that there will be point source discharges from

the Project that will require appropriate CWA permits (see, e.g., AR 71426, 71427,

71430, 714440). Further, state law requires that any CWA permit for point

discharges comply with the requirements of the applicable water quality standards.

See Idaho Admin. Code 50.01.25.103.01 (requiring that permits provide for

compliance with the requirements of applicable water quality standards). There is

nothing in the record cited by CBD indicating that the required CWA permits for

the Project have been issued. Once those permits are issued, CBD may be able to

challenge the permits or alleged violations of the permits. However, there is no

basis for challenging yet-to-be-issued permits or potential future violations of such

permits. Nor is there any basis for challenging BLM’s authorization of the Project



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and its point source discharges that will be subject to the yet-to-be-issued permits.

      CBD takes the position that the point source discharges will violate Idaho

Administrative Code 58.01.02.055. This section requires IDEQ to develop total

maximum daily loads (TMDLs) for identified water bodies, such as the Blackfoot

River, that have been identified as not fully supporting designated or existing

beneficial uses and not meeting applicable water quality standards despite

application of required water pollution controls. Idaho Admin. Code

58.01.02.055.02. “Once a TMDL . . . is completed, discharges of causative

pollutants shall be consistent with the allocations in the TMDL.” Id. at

58.01.02.055.05. The development of TMDLs or interim changes may also

“include pollutant trading with the goal of restoring water quality limited water

bodies to compliance with water quality standards.” Id. at 58.01.02.055.06.

      Here, the record establishes the TMDLs for the Blackfoot River and its

relevant tributaries are already fully allocated to pre-existing sources. (AR 16351.)

However, TMDL allocations for point sources would, again, be imposed through

yet-to-be-issued permits. Further, the record recognizes the availability of pollutant

trading for purposes of meeting TMDLs. (AR 49832.) At this point, there is simply

no basis for challenging the yet-to-be-issued permits and TMDL allocations.

      In sum, BLM’s approval of the Project did not violate Idaho’s water quality




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rules. See generally Cent. Sierra Env't Res. Ctr. v. Stanislaus Nat'l Forest, 30 F.4th

929, 942–43 (9th Cir. 2022) (“But a discharge that otherwise complies with

applicable [state law standards] does not violate [state law] merely because the

water quality objectives are not being met.”).

                                       ORDER

      IT IS ORDERED that Plaintiffs’ Motion for Summary Judgment (Dkt. 58)

is GRANTED in part and DENIED in part, and Defendants’ and Intervenor’s cross

motions for summary judgment (Dkts. 61, 64) are GRANTED in part and

DENIED in part as follows:

             1.    Summary judgment is granted in favor of Plaintiffs on their

      NEPA claim that BLM failed to consider the indirect effects of processing

      ore at the Soda Springs Plant.

             2.    Summary judgment is granted in favor of Plaintiffs on their

      NEPA claim that BLM failed to take a hard look at the direct, indirect, and

      cumulative impacts on greater sage-grouse.

             3.    Summary judgment is granted in favor of Defendants and

      Intervenor on Plaintiffs’ NEPA claim that BLM failed to take a hard look at

      the impacts on water resources.

             4.    Summary judgment is granted in favor of Defendants and

      Intervenor on Plaintiffs’ NEPA claim that BLM failed to consider the


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     required range of alternatives.

             5.    Summary judgment is granted in favor of Plaintiffs on their

     claim that BLM failed to consider or discuss reasons for eliminating from

     consideration the proposed fringe lease alternative.

             6.    Summary judgment is granted in favor of Defendants and

     Intervenor on Plaintiffs’ NEPA claim that BLM failed to consider or discuss

     reasons for eliminating from consideration the proposed keeping lease

     boundaries alternative.

             7.    Plaintiffs’ FLPMA claim related to the Slug Creek power line is

     moot.

             8.    Summary judgment is granted in favor of Plaintiffs on their

     FLPMA claim challenging the approval of the East Caldwell haul road and

     utility corridor right-of-way.

             9.    Summary judgment is granted in favor of Defendants and

     Intervenor on Plaintiffs’ FLPMA claim challenging the compensatory

     mitigation plan.

             10.   Summary judgment is granted in favor of Defendants and

     Intervenor on Plaintiffs’ Clean Water Act claims.




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      IT IS FURTHER ORDERED that Plaintiffs’ motion to file a surreply

(Dkt. 72) is GRANTED, and that Plaintiff’s motion to strike (Dkt. 73) is DENIED.



                                           DATED: January 24, 2023


                                           _________________________
                                           B. Lynn Winmill
                                           U.S. District Court Judge




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